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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                                 June 15, 2022
                              UNITED STATES DISTRICT COURT
                                                                              Nathan Ochsner, Clerk
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         § CRIMINAL ACTION NO. 4:21-CR-204
                                            §
LEE RAY BOYKIN JR.                          §

                            MEMORANDUM OPINION AND ORDER

         In this criminal proceeding, the defendant, Lee Ray Boykin Jr. (“Boykin”), has

filed a motion requesting an evaluation of his competency to stand trial. The Court has

held an evidentiary hearing on Boykin’s motion. (Dkt. 49). Based on the evidence

presented at the hearing and the rest of the record, including the Court’s own

observations, the Court concludes that there are no active concerns about Boykin’s

competency. Boykin’s motion (Dkt. 46) is DENIED.

         I.      BACKGROUND

         The Government alleges that Boykin, a former Texas state trooper, sexually

assaulted two women while he was on duty. (Dkt. 8). According to the Government,

Boykin lured the two women into his marked cruiser on false pretenses after traffic stops

and drove them to remote locations, where he forced them to perform oral sex on him.

(Dkt. 8). Boykin has been indicted on five federal counts, including two counts of

deprivation of rights under color of law;1 two counts of destruction, alteration, or

falsification of records in federal investigations;2 and one count of carry and use of a


1
    See 18 U.S.C. § 242.
2
    See 18 U.S.C. § 1519.

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firearm in a crime of violence.3 (Dkt. 50). Boykin has also been indicted in Texas state

court for aggravated sexual assault for his alleged actions. (Dkt. 47-1 at p. 56). See Harris

County criminal case number 1685312.

          In April of 2021, Magistrate Judge Sheldon ordered Boykin detained pending trial.

(Dkt. 13). Boykin filed this motion a year later, on April 4, 2022. (Dkt. 46). Although

Boykin styled the motion as “agreed,” the Government vigorously opposes it and

characterizes it as “a tactic [by Boykin] to avoid accountability for his heinous crimes by

unnecessarily delaying his trial.” (Dkt. 46 at p. 1; Dkt. 47 at p. 1).

          II.    THE LEGAL STANDARD

          Under 18 U.S.C. § 4241(a) (“Section 4241”), court must order a competency

hearing “if there is reasonable cause to believe that the defendant may presently be

suffering from a mental disease or defect rendering him mentally incompetent to the

extent that he is unable to understand the nature and consequences of the proceedings

against him or to assist properly in his defense.” 18 U.S.C. § 4241(a). Courts in the Fifth

Circuit consider three factors when determining whether a competency hearing is

required: “(1) the existence of a history of irrational behavior, (2) the defendant’s

demeanor at trial, and (3) prior medical opinion on competency.” United States v. Ruston,

565 F.3d 892, 902 (5th Cir. 2009). “There is no specific threshold or quantum of

evidence that requires the district court to order a competency hearing.” United States v.

Mitchell, 709 F.3d 436, 440 (5th Cir. 2013) (quotation marks omitted).



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    See 18 U.S.C. § 924(c)(1)(A).

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         The standard for determining whether a competency hearing is necessary is

intertwined with the standard for determining whether the defendant is competent. The

Supreme Court interpreted an earlier version of Section 4241 (which was then codified at

18 U.S.C. § 4244) in Dusky v. United States, 362 U.S. 402, 402–03 (1960), creating what

is commonly called the “Dusky standard” for evaluating a defendant’s competency to

stand trial. Under the Dusky standard, “[a] defendant is deemed mentally competent when

he has the present ability to consult with his lawyer with a reasonable degree of rational

understanding and has a rational as well as factual understanding of the proceeding

against him.” Dunn v. Johnson, 162 F.3d 302, 305 (5th Cir. 1998) (quotation marks and

brackets omitted) (citing Dusky and Lokos v. Capps, 625 F.2d 1258, 1261 (5th Cir.

1980)). “A district court can consider several factors in evaluating competency [under the

Dusky standard], including, but not limited to, its own observations of the defendant’s

demeanor and behavior; medical testimony; and the observations of other individuals that

have interacted with the defendant.” United States v. Simpson, 645 F.3d 300, 306 (5th

Cir. 2011).

         The language interpreted by the Dusky Court was materially identical to the

language of the current version of Section 4241. Compare 18 U.S.C. § 4241 with Act

Sept. 7, 1949, ch. 535, §1, 63 Stat. 686.4 Essentially, Section 4241 requires a competency



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  The language of the earlier version of Section 4241 can be found at the following URL:
https://uscode.house.gov/statviewer.htm?volume=63&page=686. The earlier version required a
competency hearing if there was “reasonable cause to believe that [the defendant] may [have
been] presently insane or otherwise so mentally incompetent as to be unable to understand the
proceedings against him or properly to assist in his own defense[.]” Act Sept. 7, 1949, ch. 535,
§1, 63 Stat. 686.

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hearing if there is reasonable cause to believe that the defendant is incompetent under the

Dusky standard. As a corollary, if there is no reasonable cause to believe that the

defendant is incompetent under the Dusky standard, then the Court need not hold a

competency hearing simply because the defendant has requested one. See, e.g., United

States v. Garcia, 674 Fed. App’x 351, 353 (5th Cir. 2016) (“Garcia offered no proof of

previous irrational behavior on his part; and, based on his demeanor and responses during

the hearing on his motion, the court could reasonably determine there were no active

competency concerns. Moreover, Garcia’s colloquy with the court reflected his

understanding of the nature and consequences of the proceedings against him and his

ability to assist counsel in his own defense.”) (citations omitted); see also United States v.

Flores-Martinez, 677 F.3d 699, 707 (5th Cir. 2012) (“[W]e have explicitly recognized

that due process does not mandate a full-blown hearing every time there is the slimmest

evidence of incompetency.”) (quotation marks omitted).

         III.   THE EVIDENCE

         As previously mentioned, courts in the Fifth Circuit consider three factors when

determining whether a competency hearing is required: “(1) the existence of a history of

irrational behavior, (2) the defendant’s demeanor at trial, and (3) prior medical opinion

on competency.” Ruston, 565 F.3d at 902. Boykin has not presented evidence showing a

history of irrational behavior, nor has he provided any medical opinions discussing his

competency. As for the remaining factor, the Court has observed nothing about Boykin’s

courtroom demeanor suggesting that he either lacks the present ability to consult with his

lawyer with a reasonable degree of rational understanding or lacks a rational as well as


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factual understanding of the proceeding against him. Cf. United States v. Messervey, 317

F.3d 457, 463 (5th Cir. 2002) (“Applying this rule in [United States v. Davis, 61 F.3d

291, 304 (5th Cir. 1995)], we concluded that a defendant’s ingesting 50 anti-depressant

pills in a suicide attempt during the course of trial, without a previous history of irrational

behavior or a medical opinion suggesting incompetence, was insufficiently manifest to

make the trial court’s failure to sua sponte order a mental competency exam an abuse of

discretion.”). To the contrary, the evidence in the record and the Court’s own

observations point only to the conclusion that Boykin is competent under the Dusky

standard.

         a. There is no evidence that Boykin suffers from post-traumatic stress
            disorder or any other mental health condition.

         Boykin requests a competency hearing based on his unsupported claim that he

suffers from post-traumatic stress disorder (“PTSD”). Boykin, an Army veteran, claims in

his motion that he “served on the front lines in Afghanistan[,]” where he “was directly

involved in the rescue and retrieval of hundreds of civilians, some of whom had been

killed.” (Dkt. 46 at p. 2). Boykin’s motion further states that, “[s]ince his return, [Boykin]

has exhibited symptoms of post-traumatic stress disorder, sleeplessness, and anxiety,

among other things.” (Dkt. 46 at p. 2).

         Those statements might be compelling, if they were true. But Boykin’s

characterization of his military service is unsworn; uncorroborated; and, as the

Government points out, directly contradicted by Boykin’s own military service records.

Boykin’s service records reflect that, in his only deployment, Boykin spent three and a



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half months in Afghanistan serving as a military police officer. (Dkt. 47-1 at pp. 1, 46). In

two post-deployment health assessments, Boykin specifically denied ever having felt like

he was in great danger of being killed, having encountered dead bodies, having seen

people killed or wounded, or having engaged in combat where he discharged a weapon:




         Dkt. 47-1 at pp. 10, 20.

         Moreover, there is no record showing that Boykin has ever told a medical provider

that he was experiencing the symptoms which he now claims to suffer. Instead, the record

only contains instances in which Boykin denied experiencing those symptoms and denied

receiving treatment for those symptoms. For example, in the two previously mentioned

post-deployment health assessments, Boykin specifically denied having trouble sleeping

or suffering from anxiety:




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         Dkt. 47-1 at pp. 11, 20, 21.

         During the post-deployment health assessments, Boykin also denied receiving

treatment for combat stress or for “any mental health condition or concern such as, but

not limited to post traumatic stress disorder[.]” (Dkt. 47-1 at pp. 10, 21). Boykin’s

answers on the post-deployment health assessments were consistent with the answers that

he later gave to similar questions on subsequent health assessments—he repeatedly

denied having or being treated for any mental health concerns (including PTSD) or sleep

problems. (Dkt. 47-1 at pp. 34, 35, 38, 39, 47, 48, 49). Boykin’s answers on all of these

assessments were screened by medical providers as part of the evaluations, and none of

the providers found cause to refer Boykin for treatment of any mental health issue. (Dkt.

47-1 at pp. 15–18, 25–28, 35–37, 43, 50–53). Boykin also underwent a psychological

examination when he applied to become a Texas state trooper, and the examining

psychologist expressed no concerns and deemed Boykin fit to serve. (Dkt. 47-1 at p. 44).

         In short, despite having undergone multiple medical assessments over the years

since his deployment to Afghanistan, Boykin can provide absolutely no documentation

demonstrating that he has ever shown, or even ever claimed to show, any sign whatsoever

that he suffers from PTSD or any other mental health condition. Apart from his own

unsworn and uncorroborated statements, the only support that Boykin provides for his

claim that he has PTSD is a vague description of statements allegedly made by his wife to

his attorneys. Boykin’s motion indicates that his attorneys have discussed their

“observations” as to Boykin’s “cognitive state” with his wife, who has “shared major

occurrences and/or instances that could have traumatically impacted Mr. Boykin’s state


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of mind.” (Dkt. 46 at p. 2). Boykin’s wife’s statements are equivocal and are not sworn,

corroborated, or even effectively summarized; and they seem to contradict an earlier

statement to the United States Probation Office in which Boykin’s wife said that “she

[wa]s not aware of any mental health issues” suffered by Boykin. (Dkt. 47-1 at p. 56). By

all indications in the record, Boykin is simply claiming to have PTSD to delay his trial.

         b. Even assuming that Boykin suffers from post-traumatic stress disorder or
            another mental health condition, the evidence shows that he is competent
            under the Dusky standard.

         But assume that Boykin actually has PTSD. That alone is still not enough, as “the

mere fact of a mental diagnosis does not mandate a competency hearing under 18 U.S.C.

§ 4241(a).” Garcia, 674 Fed. App’x at 353; see also Mitchell, 709 F.3d at 440

(“Significantly, the presence or absence of mental illness or brain disorder is not

dispositive as to competency.”) (quotation marks omitted). “What is more to the point is

whether [Boykin’s] disorder render[s] him unable to understand the proceedings against

him or to assist in his own defense.” Bouchillon v. Collins, 907 F.2d 589, 592–93 (5th

Cir. 1990). Here, ample evidence shows that Boykin has both a profound understanding

of these proceedings and can assist in his own defense. There is no evidence showing

otherwise.

         One compelling piece of evidence of Boykin’s competence is his behavior during

his military involuntary separation proceedings, in which Boykin consulted with

appointed counsel and opted to resign in hopes of being granted leniency. After Boykin’s

arrest and indictment, the Department of the Army informed Boykin, an Army reservist,

that it was commencing involuntary separation proceedings and that Boykin possibly


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stood to be involuntarily separated from the Army “under other than honorable

conditions” unless he could show cause why he should be retained. (Dkt. 47-1 at pp. 64–

66). The Department sent the notice by certified mail and gave Boykin 15 days from the

date of receipt to either submit his resignation, transfer to the Retired Reserve, or have his

case acted on by a withdrawal board. (Dkt. 47-1 at pp. 65, 68). If Boykin elected to go to

the withdrawal board, the recommended characterization of Boykin’s service would be

“other than honorable[.]” (Dkt. 47-1 at p. 65). The Department also gave Boykin the

option of being represented by appointed counsel. (Dkt. 47-1 at p. 66).

         In his response to the Department’s notice, Boykin signed an acknowledgement of

receipt. (Dkt. 47-1 at p. 68). However, he handwrote on the acknowledgement that he

“was never personally served the certified mail due to incarceration, and the mail was not

signed for.” (Dkt. 47-1 at p. 68). The handwritten explanation can only be described as a

shrewd move, considering that Boykin had a 15-day response deadline and that his

acknowledgement was dated August 21, 2021, nearly two months after the June 25, 2021

date printed on the Department’s notice. (Dkt. 47-1 at pp. 64, 68). Boykin then elected to

be represented by a member of the Army’s Judge Advocate General’s Corps and to

submit a resignation instead of having his case acted on by a withdrawal board. (Dkt. 47-

1 at p. 67). In his resignation letter, Boykin stated that he had consulted with his

appointed counsel and that he hoped to receive either a “certificate of honorable

discharge” or a “general characterization of separation” because he had opted to resign.

(Dkt. 47-1 at p. 69).




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          Boykin was also sued in a civil action by one of his alleged victims. (Dkt. 47-1 at

pp. 70–76). The alleged victim’s counsel sent a letter to Boykin offering to settle with

him; the letter demanded a response “on or before Feb. 28, 2022.” (Dkt. 47-1 at p. 76).

When he received the demand letter, Boykin wrote a letter to the alleged victim’s counsel

requesting an extension of the response deadline “to afford [Boykin] the opportunity to

seek and find legal counsel.” (Dkt. 47-1 at p. 77).

          Finally, Boykin’s communications with his family regarding his criminal charges

similarly indicate a firm grasp of the proceedings against him and an ability to assist in

his own defense. To take a few examples, when discussing one of his alleged victims

with his wife, Boykin accurately stated that he had been arrested by Texas state

authorities on a charge of aggravated sexual assault and insisted to his wife that the

sexual encounter was consensual. (Dkt. 47-1 at pp. 61–62). In an email to his father,

Boykin said that he “received legal mail” that “need[ed] a reply by 28 feb” and asked his

father to “ask our team if they are aware of it[.]” (Dkt. 47-1 at p. 85). In another email to

his father, Boykin said that his attorneys had missed a scheduled meeting with him the

previous day but that “it [wa]s okay they did not show up” because the attorneys “[we]re

looking into every aspect of the situation so we are not moving too quickly at the last

minute missing details.” (Dkt. 47-1 at p. 86). When discussing a reverse proffer meeting

with his father, Boykin explained that “it’s like something where we go in and hear what

the prosecution has.”5 (Dkt. 47-1 at p. 80). Boykin also explained that he was attending


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  Boykin’s description of a reverse proffer to his father is consistent with the common
understanding of the term as “a session in which the prosecutor describes the evidence and

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the reverse proffer meeting at his counsel’s request, that his wife would also be there, and

that “[i]t’s literally them just talking about what they have and what they can go what

they actually have proof of.” (Dkt. 47-1 at p. 80). When describing plea negotiations to

his wife, Boykin told her that “nothing’s changed as far as [the prosecution’s] offer” and

that “the numbers haven’t changed[.]” (Dkt. 47-1 at pp. 83–84). Boykin added that the

prosecution was “trying to put [him] away for the rest of [his] life basically” but that he

had “brought some things to light” in discussions with his attorneys that he hoped would

present things “from another perspective.” (Dkt. 47-1 at pp. 83–84). Ultimately, Boykin

gave a rational summary of where the negotiations stood: “I mean the numbers haven’t

changed but just trying to see where we can get what we can work with, you know.”

(Dkt. 47-1 at p. 84).




potential charges against a defendant while the defendant and his attorney listen to the
information set forth by the prosecutor.” United States v. Hinojosa, No. 3:16-CR-536, 2020 WL
905357, at *2 n.2 (N.D. Tex. Feb. 25, 2020).

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          The record plainly shows that Boykin understands the nature and consequences of

the proceedings against him and is able to assist counsel in his own defense. There is no

reasonable cause to believe that Boykin is incompetent under the Dusky standard. Under

these circumstances, the Court will not grant Boykin’s request to hold a competency

hearing. See Garcia, 674 Fed. App’x at 353. Boykin’s motion requesting an evaluation of

his competency to stand trial (Dkt. 46) is DENIED.


          SIGNED at Houston, Texas on June 15, 2022.


                                                 _______________________________
                                                     GEORGE C. HANKS, JR.
                                                 UNITED STATES DISTRICT JUDGE




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